         Case 4:21-cr-06028-MKD       ECF No. 69      filed 10/12/21    PageID.620 Page 1 of 3




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5    Spokane, WA 99210-1494
6    Telephone: (509) 353-2767
7
                          UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF WASHINGTON
9
     UNITED STATES OF AMERICA,
10
11                                Plaintiff,               4:21-CR-06028-RMP-3
12
                     v.                                    United States’ Witness List for
13                                                         Motions to Suppress
14   JOEL CHAVEZ-DURAN
15                              Defendant.
16
17           Plaintiff, United States of America, by and through Vanessa R. Waldref,

18   United States Attorney for the Eastern District of Washington, and Stephanie Van
19
     Marter, Assistant United States Attorney for the Eastern District of Washington,
20
21   submits the following Witness List for the Motion to Suppress. See, ECF 61.
22
             Witness List:
23
24           Pasco Police Officer Kevin Erickson-
25
             estimated length of testimony 1.5 hours1
26
27
28   1
      There is body camera footage associated with this traffic stop that has bene provided to the
     Court. It is the assigned AUSA’s experience, that the presentation of this type of evidence can
     prolong testimony.

          United States’ Witness List for Motions to Suppress - 1
     Case 4:21-cr-06028-MKD    ECF No. 69   filed 10/12/21   PageID.621 Page 2 of 3




1        Kennewick Police Officer Kris Safranek-
2
         estimated length of testimony 1.5 hours
3
4        Task Force Agent Michael Pitts-
5        estimated length of testimony 2 hours
6
7        Supervisory Agent Spencer Savage

8        estimated length of testimony 1 hour
9
10
11       Dated: October 12, 2021.
12
                                                 Vanessa R. Waldref
13                                               United States Attorney
14
15
16                                               Stephanie A. Van Marter
                                                 Assistant United States Attorney
17
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28



      United States’ Witness List for Motions to Suppress - 2
       Case 4:21-cr-06028-MKD      ECF No. 69   filed 10/12/21   PageID.622 Page 3 of 3




1                              CERTIFICATE OF SERVICE
2
3          I hereby certify that on October 12, 2021, I electronically filed the foregoing
4
     with the Clerk of the Court using the CM/ECF system which will send notification
5
6    of such filing to the following:
7
8          Adam R. Pechtel: adam@pechtellaw.com
9
10
11
12
13                                                Stephanie A. Van Marter
                                                  Assistant United States Attorney
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         United States’ Witness List for Motions to Suppress - 3
